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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                   Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                         Phone: (312) 435-5850
             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 April 11, 2018


    Before:                             DIANE P. WOOD, Chief Judge
                                        FRANK H. EASTERBROOK, Circuit Judge
                                        DAVID F. HAMILTON, Circuit Judge




                                         HEATHER DIEFFENBACH, et.al.,
                                         Plaintiffs - Appellants

 No. 17-2408                             v.

                                         BARNES & NOBLE,
                                         Defendant - Appellee

 Originating Case Information:

 District Court No: 1:12-cv-08617
 Northern District of Illinois, Eastern Division
 District Judge Andrea R. Wood



       The judgment of the District Court is VACATED, and the case is REMANDED for
proceedings consistent with this opinion. The above is in accordance with the decision of this
court entered on this date. Appellants recover costs.




 form name: c7_FinalJudgment(form ID: 132)
